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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


SUSAN BELL,                                                        CIVIL ACTION
                               Plaintiff,
               v.                                                  NO. 13-cv-05927

READING HOSPITAL,
                               Defendant.



                                                 ORDER

                              ~
       AND NOW, this~ day of 'S£p~h"I\:>e("2016, upon consideration of the Parties'

Stipulation and request for dismissal pursuant to Federal Rule of Civil Procedure 4 l(a) and Local Rule

41.l(b) (effective January 1, 1970), and the Court having approved the proposed terms of the Parties'

agreement for dismissal, it is hereby Ordered and Decreed pursuant to Local Rule 41.l(b), that this

action is dismissed with prejudice, with each Party to bear its own costs and attorneys' fees. The Court

will retain jurisdiction for ninety (90) days from the date of this Order to enforce any terms of the

Parties' agreement.

       The Clerk of Court shall mark this case closed for statistical purposes.




                                              BY THE COURT:


                                                (,1~ .......   Q    7   t.; r,l!J   6-4.1"\~
                                             ~MES KNOLL GARDNER
                                              United States District Judge
.. ,             Case 5:13-cv-05927-JKG Document 150 Filed 09/30/16 Page 2 of 2




                                IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       SUSAN DELL,                                                    CIVIL ACTION
                                       Plaintiff,
                        v.                                            NO. 13-cv-05927

       READING HOSPITAL,
                                       Defendant.


                                    JOINT STIPULATION OF DISMISSAL
                                     PURSUANT TO FED. R, CIV. P. 41(a)

                 Pursuant to Federal Rule of Civil Procedure 41(a) and Local Rule 41.l(b). the Parties

       hereby stipulate and request that the above-captioned matter be dismissed with prejudice, with

       each party to bear its own costs and attorneys' fees.

                                                    Respectfully submitted,




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        Dated:    _j)iJ1_1 b
